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                                                                                 E-FILED
                                                         Monday, 01 May, 2017 01:34:30 PM
                                                             Clerk, U.S. District Court, ILCD




                         United States District Court
                                   for the
                          Central District of Illinois

                          File Number 16-cv-01378

     Elijah Reid, Plaintiff

     v.                                     Notice of Appeal

     Michael Melvin, et al.,
     Defendants

              Notice is hereby given that Elijah Reid, Plaintiff in the
     above named case, hereby appeals to the United States Court of
     Appeals for the Seventh Circuit from the final judgment entered in
     this action on the 6th day of May, 2017.


                    s/David M. Shapiro
                    David M. Shapiro
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                                   Attorney for Plaintiff Elijah Reid
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                          United States District Court
                                    for the
                           Central District of Illinois

                          File Number 16-cv-01378

     Elijah Reid, Plaintiff

     v.                                    Certificate of Service

     Michael Melvin, et al.,
     Defendants


     I certify that on May 1, 2017, I electronically filed the foregoing
     with the Clerk of the Court using the CMECF system, which will
     send notification of filing to anyregistered CMECF users.



     s/David M. Shapiro
